           Case 20-11233-amc                   Doc       Filed 10/25/24 Entered 10/25/24 11:29:39                                  Desc Main
 Fillin this information to identifythe case:            Document      Page 1 of 11
 Debtor 1               Christopher M. Graney
                       __________________________________________________________________


 Debtor 2               ________________________________________________________________
 (Spouse, if filing)

                                            EASTERN                          PA
 United States Bankruptcy Court for the: ______________________ District of __________
                                                                             (State)
 Case number
                        20-11233-amc
                        ___________________________________________




Official Form 410S1
Notice of Mortgage Payment Change                                                                                                              12/15

If the debtor’s plan provides for payment of postpetition contractualinstallments on your claim secured bya securityinterest in the
debtor’s principalresidence, you must use this form to give notice of anychanges in the installment payment amount.File this form
as a supplement to your proof of claim at least 21 days before the new payment amount is due.See Bankruptcy Rule 3002.1.


                   Citizens Bank, N.A.                                                                                      2
 Name of creditor: _______________________________________                               Court claim no. (if known): _____________________


 Last 4digits of any number you use to                                                   Date of payment change:
 identify the debtor’s account:                          7642 ____ ____ ____
                                                         ____                            Must be at least 21 days after date        12    01   2024
                                                                                                                                    ____/____/_____
                                                                                         of this notice


                                                                                         New totalpayment:                            2,168.10
                                                                                                                                    $ ____________
                                                                                         Principal, interest, and escrow, if any

 Part 1:         Escrow Account Payment Adjustment

 1. W il
       lthere be a change in the debtor’s escrow account payment?
            No
       X
            Yes. Attach a copy of the escrow account statement prepared in a form consistent with applicable nonbankruptcy law. Describe
                 the basis for the change. If a statement is not attached, explain why: ___________________________________________
                 __________________________________________________________________________________________________
                                              864.76
                   Current escrow payment: $ _______________                           New escrow payment:            856.21
                                                                                                                   $ _______________


 Part 2:         Mortgage Payment Adjustment

 2. W il
       lthe debtor’s principaland interest payment change based on an adjustment to the interest rate on the debtor's
     variable-rate account?
       X    No
            Yes. Attach a copy of the rate change notice prepared in a form consistent with applicable nonbankruptcy law. If a notice is not
                 attached, explain why: _______________________________________________________________________________
                 __________________________________________________________________________________________________

                   Current interest rate:         _______________%                     New interest rate:          _______________%

                   Current principaland interest payment: $ _______________            New principaland interest payment: $ _______________


 Part 3:         Other Payment Change

 3. W il
       lthere be a change in the debtor’s mortgage payment for a reason not listed above?
       X    No
            Yes. Attach a copy of any documents describing the basis for the change, such as a repayment plan or loan modification agreement.
                 (Court approval may be required before the payment change can take effect.)

                   Reason for change: ___________________________________________________________________________________

                   Current mortgage payment: $ _______________                         New mortgage payment: $ _______________


Official Form 410S1                                          Notice of Mortgage Payment Change                                               page 1
          Case 20-11233-amc                         Doc           Filed 10/25/24 Entered 10/25/24 11:29:39                            Desc Main
                                                                  Document      Page 2 of 11

Debtor 1         Christopher M. Graney
                 _______________________________________________________                                                20-11233-amc
                                                                                                Case number (if known) _____________________________________
                 First Name      Middle Name               Last Name




 Part 4:         Sign Here


 The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and
 telephone number.
 Check the appropriate box.

           I am the creditor.
      X
           I am the creditor’s authorized agent.



 I declare under penaltyof perjurythat the information provided in this claim is true and correct to the best of my
 knowledge, information, and reasonable belief.

                                                                                                           10/25/24
       /s/ Andrew M. Lubin
     _____________________________________________________________                              Date    ____/_____/________
     Signature




 Print:              Andrew M. Lubin
                    _________________________________________________________                   Title    Attorney for creditor
                                                                                                        ___________________________
                    First Name                      Middle Name          Last Name



 Company             McCabe, Weisberg & Conway, LLC
                    _________________________________________________________



 Address             1420 Walnut Street, Suite 1501
                    _________________________________________________________
                    Number                 Street

                     Philadelphia, PA 19102
                    ___________________________________________________
                    City                                                 State       ZIP Code



 Contact phone        215
                    (______)  790
                             _____–   1010
                                    _________                                                          ecfmail@mwc-law.com
                                                                                                Email ________________________




Official Form 410S1                                                    Notice of Mortgage Payment Change                                           page 2
 Case 20-11233-amc         Doc     Filed 10/25/24 Entered 10/25/24 11:29:39           Desc Main
                                   Document      Page 3 of 11

                         UNITED STATES BANKRUPTCY COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA
In re:   Christopher M. Graney             Chapter 13
                                           Bankruptcy No. 20-11233-amc
                      Debtor(s)

Citizens Bank, N.A., or its Successor or
Assignee
                      Movant
              vs.

SCOTT F. WATERMAN (Chapter 13), Trustee
Christopher M. Graney
                    Respondent(s)

  CERTIFICATION OF SERVICE OF NOTICE OF MORTGAGE PAYMENT CHANGE

         I, Andrew M. Lubin, attorney for Citizens Bank, N.A., hereby certify that I served a true
 and correct copy of the foregoing Notice of Mortgage Payment Change, by United States Mail,
 first class, postage prepaid, and/or electronic means, upon the following:
 Date Served: 10/25/24


 Christopher M. Graney            MICHAEL A. CIBIK                  SCOTT F. WATERMAN
 218 Pine Ridge Road              Cibik Law, P.C.                   (Chapter 13)
 Havertown, Pennsylvania          1500 Walnut Street                Chapter 13 Trustee
 19083                            Suite 900                         2901 St. Lawrence Ave.
                                  Philadelphia, PA 19102            Suite 100
                                  Attorney for Debtor               Reading, Pennsylvania 19606
                                                                    Trustee

                                  United States Trustee
                                  Office of the U.S. Trustee
                                  Robert N.C. Nix Federal
                                  Building
                                  Suite 320
                                  Philadelphia, PA 19107


                                       /s/ Andrew M. Lubin
                                       MARISA MYERS COHEN, ESQUIRE ID #87830
                                       ANDREW M. LUBIN, ESQUIRE ID # 54297
                                       Attorney for Citizens Bank, N.A.
                                       1420 Walnut Street, Suite 1501
                                       Philadelphia, PA 19102
                                       Telephone: (215) 790-1010
                                       Facsimile: (215) 790-1274
                                       Email: ecfmail@mwc-law.com
Case 20-11233-amc   Doc   Filed 10/25/24 Entered 10/25/24 11:29:39   Desc Main
                          Document      Page 4 of 11
Case 20-11233-amc   Doc   Filed 10/25/24 Entered 10/25/24 11:29:39   Desc Main
                          Document      Page 5 of 11
                              Case 20-11233-amc           Doc     Filed 10/25/24 Entered 10/25/24 11:29:39               Desc Main
                                                                  Document      Page 6 of 11

                     P.O. Box 6260, Glen Allen, VA 23058-6260                                                                         Page 1 of 4
                     800.234.6002                                                         Escrow Account Disclosure Statement
                     citizensbank.com
                                                                                                                            October 18, 2024



                                                                                     Account Review Period               December 2023 -
                                                                                                                         November 2024


                    2         RIDGE RD
                              CHRISTOPHER   M GRANEY                                 New Payment Effective Date          December 1, 2024
                    H         ALICIA M GRANEY
                             OWN, PA 19083                                           New Payment Amount                  $2,168.10
                              218 PINE RIDGE RD
                              HAVERTOWN PA 19083


                    Property Address:    218 PINE RIDGE RD
                                         HAVERTOWN, PA 19083

                    Each year we review your escrow account to make sure there’s enough money to pay your real estate taxes and/or
                    insurance premiums when they’re due. Any increase or decrease in these items may result in a change to your mortgage
                    payment. This statement provides details about your escrow account, including any changes in your payment going
                    forward - be sure to review it closely.

                    Here's our estimated beginning balance for your escrow account compared to what's required. The difference helps us
                    determine whether or not you’ll have enough money in your account to pay your escrow items.

                                        Estimated Escrow Beginning Balance                                         $3,200.02
                                        Required Escrow Beginning Balance                                          $3,394.53

                                                    Based on our review, you have a shortage of $194.51.




                    Your Mortgage Payment
                    We’ve identified a shortage in your escrow account. Here are the details of your new payment starting December 1, 2024.

SLMR   0031027642
                                                                Current Payment               New Payment
                    Principal and/or Interest                         $1,311.89                  $1,311.89
                    Escrow                                               $864.76                   $840.00
                    Optional Insurance                                     $0.00                     $0.00
                    Shortage/Surplus                                       $0.00                    $16.21
                    Total Payment Amount                              $2,176.65                  $2,168.10


                    We’ve automatically spread the shortage of $194.51 over the next 12 months. Your new payment will be $2,168.10.


                     NOTE: If you use a bill pay service, be sure to let them know about the change to your payment. If you have electronic
                     payments set up with us, no need to do anything – we’ll automatically adjust your payment to the new amount.

                     If you have an adjustable rate mortgage (ARM), you’ll receive a separate notice when your interest rate is scheduled to
                     adjust and if your payment will change.
          Case 20-11233-amc           Doc       Filed 10/25/24 Entered 10/25/24 11:29:39                    Desc Main
                                                Document      Page 7 of 11

                                                                                                                          Page 2 of 4


Your Escrow Payment Over the Next 12 Months
We estimate your total taxes and/or insurance to be $10,080.11 for the next 12 months. Here’s how we calculated your
new monthly escrow payment:
                 Estimated Annual Cost                                       Estimated Monthly Escrow Payment
    Property Insurance                          $1,162.00
    Real Estate Taxes                           $6,984.67          Total Escrow                                  $10,080.11
    Mortgage Insurance                          $1,933.44          Divided by 12 Months                                   12
       Total Escrow                            $10,080.11            New Monthly Escrow Payment                     $840.00




Your Escrow Account History
The information below reflects the actual activity that occurred in your escrow account since your last analysis compared
to the activity we estimated. Any differences are marked with a .

                                  Activity History from December 2023 to November 2024

                                   Your
                    Your        Estimated                       What we
                  Payment        Payment         What we       Estimated                                      Actual        Estimated
   Date          to Escrow      to Escrow         Paid           to Pay         Description                  Balance         Balance
                                                                                      Beginning Balance      $1,749.39       $3,324.90
  Dec 2023         $864.76          $830.30         $0.00         $165.31      RBP PREMIUM                   $2,614.15       $3,989.89
  Dec 2023           $0.00            $0.00         $0.00        $1,216.00      HAZARD INS                   $2,614.15       $2,773.89
  Dec 2023           $0.00            $0.00       $165.31            $0.00     RBP PREMIUM                   $2,448.84       $2,773.89
  Jan 2024         $864.76          $830.30       $165.31         $165.31      RBP PREMIUM                   $3,148.29       $3,438.88
  Feb 2024         $864.76          $830.30          $0.00        $165.31      RBP PREMIUM                   $4,013.05       $4,103.87
  Feb 2024           $0.00            $0.00       $161.12            $0.00     RBP PREMIUM                   $3,851.93       $4,103.87
  Feb 2024           $0.00            $0.00       $792.77            $0.00     COUNTY TAX                    $3,059.16       $4,103.87
  Mar 2024         $864.76          $830.30          $0.00        $165.31      RBP PREMIUM                   $3,923.92       $4,768.86
  Mar 2024           $0.00            $0.00          $0.00        $755.00      COUNTY TAX                    $3,923.92       $4,013.86
  Mar 2024           $0.00            $0.00      $1,686.37       $1,646.16       CITY TAX                    $2,237.55       $2,367.70
  Mar 2024           $0.00            $0.00       $161.12            $0.00     RBP PREMIUM                   $2,076.43       $2,367.70
  Apr 2024         $864.76          $830.30          $0.00        $165.31      RBP PREMIUM                   $2,941.19       $3,032.69
  Apr 2024           $0.00            $0.00       $161.12            $0.00     RBP PREMIUM                   $2,780.07       $3,032.69
  May 2024         $864.76          $830.30          $0.00        $165.31      RBP PREMIUM                   $3,644.83       $3,697.68
  May 2024           $0.00            $0.00       $161.12            $0.00     RBP PREMIUM                   $3,483.71       $3,697.68
  Jun 2024         $864.76          $830.30          $0.00        $165.31      RBP PREMIUM                   $4,348.47       $4,362.67
  Jun 2024           $0.00            $0.00       $161.12            $0.00     RBP PREMIUM                   $4,187.35       $4,362.67
  Jul 2024         $864.76          $830.30          $0.00        $165.31      RBP PREMIUM                   $5,052.11       $5,027.66
  Jul 2024           $0.00            $0.00       $161.12            $0.00     RBP PREMIUM                   $4,890.99       $5,027.66
  Aug 2024        $1,729.52         $830.30          $0.00        $165.31      RBP PREMIUM                   $6,620.51       $5,692.65
  Aug 2024            $0.00           $0.00      $4,505.53       $4,362.68     SCHOOL TAX                    $2,114.98       $1,329.97
  Aug 2024            $0.00           $0.00       $161.12            $0.00     RBP PREMIUM                   $1,953.86       $1,329.97
  Sep 2024         $864.76          $830.30          $0.00        $165.31      RBP PREMIUM                   $2,818.62       $1,994.96
  Sep 2024           $0.00            $0.00       $161.12            $0.00     RBP PREMIUM                   $2,657.50       $1,994.96
  Oct 2024           $0.00          $830.30          $0.00        $165.31      RBP PREMIUM                   $2,657.50       $2,659.95
  Oct 2024           $0.00            $0.00       $161.12            $0.00     RBP PREMIUM                   $2,496.38       $2,659.95
  Nov 2024         $864.76 E        $830.30       $161.12 E       $165.31      RBP PREMIUM                   $3,200.02       $3,324.94
   Total         $10,377.12        $9,963.60     $8,926.49       $9,963.56




The letter E beside an amount indicates that the payment or disbursement hasn’t yet occurred, but is expected to occur as shown.
        Case 20-11233-amc                Doc     Filed 10/25/24 Entered 10/25/24 11:29:39                        Desc Main
                                                 Document      Page 8 of 11

                                                                                                                             Page 3 of 4


Your Estimated Escrow Account Activity Over the Next 12 Months
Here’s the activity we anticipate will occur in your escrow account over the next 12 months.
                           Payment               Payment                                                      Estimated        Required
      Date                to Escrow            from Escrow      Description                                   Balance*         Balance
                                                                                 Beginning Balance             $3,200.02       $3,394.53
    Dec 2024                   $840.00             $161.12    RBP PREMIUM                                      $3,878.90       $4,073.41
    Dec 2024                     $0.00            $1,162.00    HAZARD INS                                      $2,716.90       $2,911.41
    Jan 2025                   $840.00             $161.12    RBP PREMIUM                                      $3,395.78       $3,590.29
    Feb 2025                   $840.00             $161.12    RBP PREMIUM                                      $4,074.66       $4,269.17
    Mar 2025                   $840.00             $161.12    RBP PREMIUM                                      $4,753.54       $4,948.05
    Mar 2025                     $0.00             $792.77    COUNTY TAX                                       $3,960.77       $4,155.28
    Mar 2025                     $0.00            $1,686.37     CITY TAX                                       $2,274.40       $2,468.91
    Apr 2025                   $840.00             $161.12    RBP PREMIUM                                      $2,953.28       $3,147.79
    May 2025                   $840.00             $161.12    RBP PREMIUM                                      $3,632.16       $3,826.67
    Jun 2025                   $840.00             $161.12    RBP PREMIUM                                      $4,311.04       $4,505.55
    Jul 2025                   $840.00             $161.12    RBP PREMIUM                                      $4,989.92       $5,184.43
    Aug 2025                   $840.00             $161.12    RBP PREMIUM                                      $5,668.80       $5,863.31
    Aug 2025                     $0.00            $4,505.53   SCHOOL TAX                                       $1,163.27 L     $1,357.78 M
    Sep 2025                   $840.00             $161.12    RBP PREMIUM                                      $1,842.15       $2,036.66
    Oct 2025                   $840.00             $161.12    RBP PREMIUM                                      $2,521.03       $2,715.54
    Nov 2025                   $840.00             $161.12    RBP PREMIUM                                      $3,199.91       $3,394.42
      Total                 $10,080.00           $10,080.11


*The estimated balance is based on you making all the payments as required. We also used the most recent tax and/or insurance
information available.
L Projected low point: This is the point at which the estimated escrow balance will reach its lowest point.

M Minimum escrow balance: This is the minimum escrow balance allowed by state law and/or your loan documents. This covers
unexpected increases in your taxes and/or insurance. Your minimum escrow balance is $1,357.78.
         Case 20-11233-amc          Doc      Filed 10/25/24 Entered 10/25/24 11:29:39                Desc Main
                                             Document      Page 9 of 11

                                                                                                                  Page 4 of 4


Additional Information

Contact Us
Phone: 800.234.6002, Monday through Friday from 8 a.m. to 8 p.m. ET. If you have a hearing or speech impairment, you
        can reach us at 800.654.5988.

Email:   Go to citizensbankonline.com to send us a secure message

Mail:    Citizens, Attn: Customer Service, P.O. Box 6260, Glen Allen, VA 23058-6260

You can also find answers to frequently asked questions about escrow once you’re logged in to your account at
citizensbankonline.com.

Address for Certain Loan Requests and Notifications
The address below must be used to notify us of a possible error, request information, dispute credit reporting or opt out of
bankruptcy statements, and can be used to file a complaint.

Citizens, Attn: Customer Service, P.O. Box 6260, Glen Allen, VA 23058-6260

Interested in Automatic Payments
Want peace of mind that your payments will be made on time, every time? Go to Citizens mobile app, visit
citizensbankonline.com or call 800.234.6002 to set up automatic payments today.

Want to Refinance
Give us a call at 888.514.2300, Monday through Thursday from 8 a.m. to 8 p.m. ET, Friday 8 a.m. to 6 p.m. ET or
Saturday 9 a.m. to 3 p.m. ET to explore your options.

Trouble Making your Payments
We’re here to help – just give us a call at 800.456.8855, Monday through Friday from 8 a.m. to 8 p.m. ET, to discuss
possible options for assistance.

Important Servicer Notice
This is an attempt to collect a debt. Any information obtained will be used for that purpose.

Important Bankruptcy Information
If you are subject to a pending bankruptcy proceeding, or if you have received a discharge, this communication is for
information purposes only. It is to advise you of the status of the loan and is not an attempt to collect a debt.

For New York Loans Only
You may file complaints and obtain further information about the servicer by contacting the New York State Department of
Financial Services Consumer Assistance Unit at 1-800-342-3736 or by visiting www.dfs.ny.gov. This servicer is not
registered with the New York Superintendent of Financial Services. Citizens uses third party providers in connection with
the servicing of your loan and remains responsible for all actions taken by such providers.
             Case 20-11233-amc            Doc      Filed 10/25/24 Entered 10/25/24 11:29:39                       Desc Main
                                                   Document     Page 10 of 11

 P.O. Box 6260, Glen Allen, VA 23058-6260
 800.234.6002
 citizensbank.com
                                                                                                                         October 18, 2024


Dear CHRISTOPHER M GRANEY and ALICIA M GRANEY,

If you'd like, you can pay the entire escrow shortage/deficiency amount of $194.51 that's shown on your enclosed Annual Escrow
Statement in one payment.

Keep in mind, you're not required to make this one-time payment to satisfy the shortage/deficiency - it's completely voluntary. The
shortage/deficiency will be collected in equal amounts as indicated on your statement unless you decide to make the voluntary
payment.

Making the shortage/deficiency payment
If you’d like to pay the full shortage/deficiency amount so it’s not included in your new mortgage payment, please make your payment
so we receive it by November 24, 2024, to allow enough time for processing and updating your account before your new payment
amount is due. (If we receive your shortage/deficiency payment after this date, we’ll apply it to the shortage/deficiency, but your new
mortgage payment may take effect before we’re able to process it and adjust your loan accordingly. If this happens, you will need to
submit the new payment amount until your loan is updated.)

     Online: citizensbankonline.com           Mobile App: Citizens           Mail: Use shortage coupon below

Note: If you’d like to make your shortage payment on our website or through our mobile app, click on your mortgage account, select
“Payment”, choose “Make an additional payment”, then select “Other Payment”. Add your payment amount in the “Additional Escrow”
box.

Payment details if shortage/deficiency is paid
Here are your payment details if we receive the shortage/deficiency amount in full by November 24, 2024:

Principal and/or Interest                                $1,311.89
Escrow                                                     $840.00
Optional Insurance                                           $0.00
Escrow Shortage/Deficiency                                   $0.00
Total Payment Amount                                     $2,151.89

Note: Even if you pay the full shortage/deficiency amount, your loan payment may still increase if your property taxes and/or insurance
premiums increase.

If you have questions, give us a call at 800.234.6002, Monday through Friday from 8 a.m. to 8 p.m. ET. If you have a hearing or speech
impairment, you can reach us at 800.654.5988.


Sincerely,

Citizens

                                              Escro                                      on

                             Customer Name: CHRISTOPHER M GRANEY and ALICIA M GRANEY


To pay the shortage amount in full, mail this coupon along with your check to the address below. Be sure to include your loan number
on your check. Please don’t include this check with your mortgage payment.




                                                                        Escrow Shortage: $194.51
             P. O. Box 40520                                            Amount Enclosed: $______________
             Providence, RI 02940-0520
Case 20-11233-amc   Doc   Filed 10/25/24 Entered 10/25/24 11:29:39   Desc Main
                          Document     Page 11 of 11
